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                                                                                     FILED
                                                                          UNITED STATES DISTRICT COURT
                                                                               DENVER, COLORADO
                                                                                  4/5/2024
                                                                           JEFFREY P. COLWELL, CLERK


IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 1:23-cv-3415-MEH

Farm Credit Leasing Services Corporation,

Plaintiff,
v.

Good Forage, LLC; Clayton A. Good;
Arnold Good; and Wesley James Wittman,

Defendants.


DEFENDANT CLAYTON GOOD’S ANSWER AND AFFIRMATIVE DEFENSES



Defendant Clayton Good (“Defendant C. Good” or “Mr. C. Good”), respectfully submits this

Answer, Affirmative Defenses, and Counterclaim to Plaintiff Farm Credit Leasing Services

Corporation’s (“Farm Credit” or “Plaintiff”)’s original Complaint [Dkt. 1], stating as follows:


ANSWER TO COMPLAINT

“PARTIES, JURISDICTION, AND VENUE”


1. Defendant C. Good lacks knowledge or information sufficient to form a belief as to the truth of

the averments in Paragraph 1 of the Complaint and, therefore, denies the same.



2. Defendant C. Good admits that he owns Good Forage, LLC (“Good Forage”) resides at 25498
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County Road 66, Greeley, Colorado 80631 prior to his divorce 1/25/24.



Defendant A. Good lacks



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  knowledge or information sufficient to form a belief as to the truth of the remaining averments in

  Paragraph 2 of the Complaint and, therefore, denies the same.

  3. Defendant C. Good denies he resides at 25498 County Road 66, Greeley, Colorado 80631.

  The allegation that Defendant C. Good is a Colorado citizen is a legal conclusion to which no

  response is necessary. To the extent that such a response may nevertheless be deemed necessary,

  5. Defendant C. Good does not have knowledge Defendant Wesley James Wittman (“Defendant

  Wittman”) resides at 2957 Arabian Ave., Brighton, Colorado 80603. The allegation that

  Defendant Wittman is a Colorado citizen is a legal conclusion to which no response is necessary.

  To the extent that such a response may nevertheless be deemed necessary, Defendant C. Good

  admits the averments in Paragraph 5 of the Complaint.

  6. Defendant C. Good does not contest the Court’s jurisdiction in this case. 7. Defendant C. Good

  does not contest venue in this case.
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“FACTS COMMON TO ALL COUNTS”


8. Defendant C. Good admits that, to the best of his knowledge, Farm Credit is engaged in the

business of leasing equipment and other personal property to businesses and sole proprietors in

the agriculture industry.

“The Baler Lease Agreement”


9. Agree

10. Agree in Part. I notified Farm Credit of the sale and that I would make payments to pay off

the lease and residual amount due after lease payments. Also, Good Forage LLC utilized the

baler in multiple counties throughout Colorado and Wyoming, there were times the baler was

stored at varying addresses.

11. Agree.

12. Agree.




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13. Agree.

14. This paragraph speaks for itself and Defendant C. Good denies any characterization of

Exhibit 1 not consistent therewith. .

15. Agree in part. Baler proceeds were used to make further payments toward payoff of the

baler.

16. C. Good signed the lease as lessee.


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17. Agree

18. Agree

19. Exhibit 1 speaks for itself and Defendant C. Good denies any characterization of Exhibit 1

not consistent therewith.




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“The Master Lease”
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20. Exhibit 3 speaks for itself and Defendant C. Good denies any characterization of Exhibit 3

not consistent therewith.

21. Agree in part. See above regarding equipment location.

22. Exhibit 3 speaks for itself and Defendant C. Good denies any characterization of Exhibit 3

not consistent therewith.

23. Exhibit 3 speaks for itself and Defendant C. Good denies any characterization of Exhibit 3

not consistent therewith.




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“The Shredder Schedule”


24. Exhibit 4 speaks for itself and Defendant C. Good denies any characterization of Exhibit 4

not consistent therewith.

25. Exhibit 4 speaks for itself and Defendant C. Good denies any characterization of Exhibit 4

not consistent therewith.

26. Exhibit 5 speaks for itself and Defendant C. Good denies any characterization of Exhibit 5

not consistent therewith.

27. This paragraph speaks for itself and Defendant C. Good denies any characterization of

Exhibit 5 not consistent therewith and offers to pay off the remaining $422 immediately.
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“The Stacker Schedule”


28. Exhibit 6 speaks for itself and Defendant C. Good denies any characterization of Exhibit 6

not consistent therewith.

29. Exhibit 6 speaks for itself and Defendant C. Good denies any characterization of Exhibit 6

not consistent therewith.

30. Exhibit 7 speaks for itself and Defendant C. Good denies any characterization of Exhibit 7

not consistent therewith.

31. Agree in part. The stacker was removed from location due to work in surrounding areas.

The stacker was sold and Farm Credit was notified of the sale and company’s intention to pay off

remaining due amounts. Proceeds were used to make annual payments.

32. Exhibit 6 speaks for itself and Defendant C. Good denies any characterization of Exhibit 6

not consistent therewith.

“The Trailer Schedule”


33. Exhibit 8 speaks for itself and Defendant C. Good denies any characterization of Exhibit 8

not consistent therewith.

34. Exhibit 8 speaks for itself and Defendant C. Good denies any characterization of Exhibit 8

not consistent therewith.

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35. Exhibit 9 speaks for itself and Defendant C. Good denies any characterization of Exhibit 9
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not consistent therewith.

36. Exhibit 8 speaks for itself and Defendant C. Good denies any characterization of Exhibit 8

not consistent therewith.

“The C. Good Guaranty”


37. Exhibit 10 speaks for itself and Defendant C. Good denies any characterization of Exhibit 10

not consistent therewith.

38. Exhibit 10 speaks for itself and Defendant C. Good denies any characterization of Exhibit 10

not consistent therewith.

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39. Exhibit 10 speaks for itself and Defendant C. Good denies any characterization of Exhibit 10

not consistent therewith..

“The Swather Lease”


40. Exhibit 11 speaks for itself and Defendant C. Good denies any characterization of Exhibit 11

not consistent therewith.

41. Deny in part. The swather was used throughout surrounding area of address listed and

frequently stored at other locations short term.

42. Exhibit 11 speaks for itself and Defendant C. Good denies any characterization of Exhibit 11

not consistent therewith.
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43. Exhibit 11 speaks for itself and Defendant C. Good denies any characterization of Exhibit 11

not consistent therewith.

44. Exhibit 11 speaks for itself and Defendant C. Good denies any characterization of Exhibit 11

not consistent therewith.

45. Exhibit 12 speaks for itself and Defendant C. Good denies any characterization of Exhibit 12

not consistent therewith.

46. Exhibit 11 speaks for itself and Defendant C. Good denies any characterization of Exhibit 11

not consistent therewith.

47. Exhibit 11 speaks for itself and Defendant C. Good denies any characterization of Exhibit 11

not consistent therewith.

“Defendants’ Defaults”


48. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.



49. Deny. C. Good was not contacted by the plaintiff for the return of any of the equipment.

“COUNT I
BREACH OF CONTRACT
(Company)”
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50. Defendant C. Good hereby incorporates by reference all of his responses to each and every

paragraph of the Complaint as if fully set forth herein.

51. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.




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“COUNT II
BREACH OF THE SWATHER LEASE
(Company and Wittman)”


55. Defendant C. Good hereby incorporates by reference all of his responses to each and every

paragraph of the Complaint as if fully set forth herein.

56. Farm Credit’s assertion that the purported swather lease is an enforceable contract is a legal

conclusion to which no response is necessary.

57. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

58. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.
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59. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

“COUNT III
BREACH OF THE BALER GUARANTY
(A. Good and C. Good)”


60. Defendant A. Good hereby incorporates by reference all of his responses to each and every

paragraph of the Complaint as if fully set forth herein.




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61. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

62. C. Good lacks knowledge to admit or deny this claim.


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63. Agree.

64. Neither agree nor deny, I have not reviewed this amount for accuracy.
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“COUNT IV
BREACH OF THE C. GOOD GUARANTY
(C. Good)”


65. Defendant C. Good hereby incorporates by reference all of his responses to each and every

paragraph of the Complaint as if fully set forth herein.

66. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

67. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

68. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

69. Neither agree nor deny, I have not reviewed this amount for accuracy.

“COUNT V
ALTERNATE COUNT – UNJUST ENRICHMENT
(Defendants)”


70. Defendant C. Good hereby incorporates by reference all of his responses to each and every

paragraph of the Complaint as if fully set forth herein.
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71.This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

72. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

73. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

74. Neither agree nor deny, I have not reviewed this amount for accuracy.

“COUNT VI
CLAIM FOR CONVERSION
(Defendants)”


75. Defendant C. Good hereby incorporates by reference all of his responses to each and every

paragraph of the Complaint as if fully set forth herein.

76. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

77. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

78. Deny. Sale proceeds were used to make payments on each piece of equipment sold toward

payoff of each asset.
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79. Deny. Farm Credit knew these assets may be sold and proceeds used to payoff lease/loans.

80. Lack sufficient knowledge, I have not reviewed this amount for accuracy.

“COUNT V
CLAIM FOR CIVIL THEFT
(Company)”


81. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

82. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

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83. Deny. C. Good was not approached by FCL regarding asset location or for return of said

assets.

84. Agree in part. I would have cooperated with FCL had they contacted me. I was in contact

with FCL account managers regarding catching up on payments and making a plan to do so and

was never approached for asset location or return.

85. Deny. Good Forage LLC never denied any requests by FCL.

86. Agree in part. Farm Credit was notified of Baler sale.

87. Deny in part. Equipment was utilized at many different locations throughout multiple

counties.

88. Deny. Sale proceeds were used to make payments on each piece of equipment sold toward
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payoff of each asset.

89. Deny in part. Farm credit was notified of potential sales. Proceeds were used to payoff

assets.

90. Deny. All assets were intended to be paid off, evidenced by payments made.

91. Deny.

92. Lack sufficient knowledge to affirm or deny.

93. The averments in Paragraph 93 of the Complaint are legal conclusions to which no response

is necessary. To the extent that a response may nevertheless be deemed necessary, Defendant C.

Good lacks knowledge or information sufficient to form a belief as to the truth of the averments

in Paragraph 93 of the Complaint and, therefore, denies the same.

“COUNT VI
CLAIM FOR REPLEVIN PURSUANT TO C.R.C.P 104
(Defendants)”


94. Defendant C. Good hereby incorporates by reference all of his responses to each and every

paragraph of the Complaint as if fully set forth herein.

95. The purported leases at issue in this action speak for themselves and Defendant C. Good

denies any characterization of their terms inconsistent therewith. The averments in Paragraph 95

of the Complaint are legal conclusions to which no response is necessary. To the extent that a

response may nevertheless be deemed necessary, Defendant C. Good lacks knowledge or




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information sufficient to form a belief as to the truth of the averments in Paragraph 95 of the

Complaint and, therefore, denies the same.

96. This paragraph speaks for itself and Defendant C. Good denies any characterization not

consistent therewith.

97. Deny. I never detained equipment.

98. Neither agree not deny, I have not reviewed these amounts for accuracy.

99. Defendant C. Good lacks knowledge or information sufficient to form a belief as to the truth

of the averments in Paragraph 99 of the Complaint and, therefore, denies the same.

100. Deny.

101. Deny.

102. The averments and demands in Paragraph 102 of the Complaint are legal conclusions to

which no response is necessary.

“PRAYER FOR RELIEF”



103. Defendant C. Good lacks knowledge or information sufficient to form a belief as to the

truth of the averments in Paragraph 103.



Signed



Clayton Good
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